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 1
       Vivek Jayaram (Pro Hac Vice)
 2     vivek@jayaramlaw.com
       Elizabeth Austermuehle (Pro Hac Vice)
 3     liz@jayaramlaw.com
       JAYARAM LAW, INC.
 4     125 S. Clark Street, Suite 1175
       Chicago, IL 60603
 5
       Christian Anstett (SBN 240179)
 6     Anstett.law@gmail.com
       A Eric Bjorgum (SBN 198392)
 7     eric.bjorgum@kb-ip.com
       KARISH & BJORGUM PC
 8     119 E. Union Street, Suite B
       Pasadena, CA 91103
 9     Telephone: (213) 785-8070
10     Attorneys for Defendant Deejayzoo, LLC
11                                 UNITED STATES DISTRICT COURT
12                               CENTRAL DISTRICT OF CALIFORNIA
13                                             WESTERN DIVISION
14
15
         Kitsch LLC, a California                       Case No. 2:19-cv-02556-JAK-RAO
16       company,
17                                                      STIPULATION TO RESET AND
               Plaintiff/Counter-Defendant,             EXTEND CALENDAR DATES
18       v.
19                                                      Pursuant to Fed. R. Civ. P. 16(b)(4)
         DEEJAYZOO, LLC, a New
20       York company,                                  [[Proposed] Order Submitted
21                                                      herewith]
               Defendant/Counter-Plaintiff.
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       Stipulation to Reset and Extend Calendar Dates
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 1          The Parties, Defendant/Counter-Plaintiff DEEJAYZOO, LLC (“Deejayzoo”)
 2 and Plaintiff/Counter-Defendant KITSCH, LLC (“Kitsch”), through their respective
 3 attorneys of record, hereby move the Court to reset and extend certain dates set by this
 4 Court in the Order and Amended Scheduling Order of June 17, 2020 (Docket
 5 Document 68 herein).
 6          WHEREAS, Plaintiff filed its Complaint on April 4, 2019;
 7          WHEREAS, the Scheduling Order of August 5, 2019 (Docket Document 27
 8 herein), set the following dates:
 9                   1. February 10, 2020: Patentee’s Deadline to Serve Final Infringement
10                       Contentions, Expert Reports on Issues Where Patentee has Burden of
11                       Proof, All Parties Serve Advice of Counsel Disclosures
12                   2. March 9, 2020: Accused Infringer’s Deadline to Serve Final Invalidity
13                       Contentions, Rebuttal Expert Reports, and Opening Expert Reports
14                       Where Accused Infringer has Burden of Proof
15                   3. April 6, 2020: Patentee’s Deadline to Serve Rebuttal Expert Reports
16                       on Issues Where Accused Infringer has Burden of Proof
17                   4. May 4, 2020: Expert Discovery Cut-Off
18                   5. June 1, 2020: Last day to file motions (including discovery motions);
19          WHEREAS, by joint motion of the Parties dated June 1, 2020 (Docket
20 Document 60 herein), the Court reset these dates for three primary reasons: (1) the
21 Parties have been dealing with the ramifications of the COVID-19 pandemic and its
22 impact on discovery and depositions; (2) the Markman ruling being issued later than
23 anticipated in the original schedule; and (3) Deejayzoo recently engaged additional
24 counsel in this matter;
25          WHEREAS, the Scheduling Order of June 17, 2020 (Docket Document 68
26 herein) set the following dates:
27                   1. August 28, 2020: Patentee’s Deadline to Serve Final Infringement
28
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 1                       Contentions, Expert Reports on Issues Where Patentee has Burden of
 2                       Proof, All Parties Serve Advice of Counsel Disclosures
 3                   2. September 25, 2020: Accused Infringer’s Deadline to Serve Final
 4                       Invalidity Contentions, Rebuttal Expert Reports, and Opening Expert
 5                       Reports Where Accused Infringer has Burden of Proof
 6                   3. October 23, 2020: Patentee’s Deadline to Serve Rebuttal Expert
 7                       Reports on Issues Where Accused Infringer has Burden of Proof
 8                   4. November 23, 2020: Expert Discovery Cut-Off
 9                   5. December 21, 2020: Last day to file motions (including discovery
10                       motions);
11          WHEREAS, based on the progress of this Action, Deejayzoo has requested and
12 Kitsch does not oppose, a three-week extension of the remaining deadlines in this
13 Action;
14          WHEREAS, Deejayzoo obtained new counsel in this Action in early June 2020
15 and Deejayzoo’s former counsel withdrew on July 24, 2020;
16          WHEREAS, while undersigned counsel for Deejayzoo has acted diligently since
17 becoming counsel of record, there has been voluminous discovery exchanged in this
18 case prior to undersigned counsel becoming counsel of record. Specifically, Kitsch has
19 produced over 44,000 pages of documents and Deejayzoo has produced over 33,000
20 pages of documents. It has taken Deejayzoo’s counsel time to review the existing
21 discovery in preparation for ongoing depositions and expert discovery;
22          WHEREAS, Deejayzoo has requested and Kitsch has agreed to produce
23 additional written discovery needed in connection with the preparation of Deejayzoo’s
24 expert reports;
25          WHEREAS, the Parties have taken multiple depositions to date and are in the
26 process of scheduling additional depositions;
27          WHEREAS, the Parties continue to engage in the exchange of written discovery
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 1 and meet and conferrals regarding written discovery;
 2          WHEREAS, the Court has not yet set a final pretrial conference or a trial date in
 3 this Action;
 4          WHEREAS, the Parties do not believe the three-week extension sought hereby
 5 will prejudice either Party or result in undue delay;
 6          WHEREAS, Federal Rule of Civil Procedure Rule 16(b)(4) requires good cause
 7 and judicial consent as prerequisites to modifying a scheduling order; and
 8          WHEREAS, the parties have only requested one extension in this matter (see
 9 Joint Motion dated June 1, 2020, Docket Document 60), which was necessary in light
10 of the COVID-19 pandemic and other issues identified therein;
11
12 NOW, THEREFORE, BASED ON THE FOREGOING FACTS, THE PARTIES
13 HEREBY STIPULATE AND MOVE TO THE COURT FOR AN ORDER
14 RESETTING THE FOLLOWING DEADLINES:
15   Event                                                Current Date   Proposed
                                                                         Modified Date
16
     Patentee’s Deadline to Serve Final                   8/28/2020      9/18/2020
17   Infringement Contentions, Expert Reports on
     Issues Where Patentee has Burden of Proof,
18
     All Parties Serve Advice of Counsel
19   Disclosures
     Accused Infringer’s Deadline to Serve Final          9/25/2020      10/16/2020
20
     Invalidity Contentions, Rebuttal Expert
21   Reports, and Opening Expert Reports Where
22   Accused Infringer has Burden of Proof
     Patentee’s Deadline to Serve Rebuttal Expert         10/23/2020     11/13/2020
23   Reports on Issues Where Accused Infringer
24   has Burden of Proof
     Expert Discovery Cut-Off                             11/23/2020     12/14/2020
25   Last Day to File Motions (including                  12/21/2020     1/11/2021
26   discovery motions)

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28                                                    3
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 1 IT IS SO STIPULATED AND AGREED.
 2
     Dated: August 19, 2020                           JAYARAM LAW, INC.
 3
                                                      By:   /s/ Vivek Jayaram
 4
                                                      Vivek Jayaram (Pro Hac Vice)
 5                                                    vivek@jayaramlaw.com
                                                      Elizabeth Austermuehle (Pro Hac Vice)
 6                                                    liz@jayaramlaw.com
                                                      JAYARAM LAW, INC.
 7                                                    125 S. Clark Street, Suite 1175
                                                      Chicago, IL 60603
 8                                                    Christian Anstett (SBN 240179)
                                                      Anstett.law@gmail.com
 9                                                    A Eric Bjorgum (SBN 198392)
                                                      eric.bjorgum@kb-ip.com
10                                                    KARISH & BJORGUM PC
                                                      119 E. Union Street, Suite B
11                                                    Pasadena, CA 91103
                                                      Attorneys for Defendant Deejayzoo, LLC
12
13 Dated: August 19, 2020                             BROOKS KUSHMAN P.C.
14
                                                      By: /s/ Rebecca J. Cantor*
15                                                    Mark A. Cantor (Pro Hac Vice)
                                                      mcantor@brookskushman.com
16
                                                      Rebecca J. Cantor (Pro Hac Vice)
17                                                    rcantor@brookskushman.com
                                                      Marc Lorelli (Pro Hac Vice)
18
                                                      mlorelli@brookskushman.com
19                                                    1000 Town Center, 22nd Floor
                                                      Southfield, MI 48075
20
                                                      T: (248) 358-4400/F: (248) 358-3351
21                                                    William E. Thomson, Jr. (SBN 47195)
                                                      wthomson@brookskushman.com
22
                                                      601 S. Figueroa Street, Suite 2080
23                                                    Los Angeles, CA 90017
                                                      Tel: (213) 622-3003
24
                                                      Attorneys for Plaintiff Kitsch, LLC
25
26 * Pursuant to Local Rule 5-4.3.4(a)(2), the filing party attests that Plaintiff’s counsel
   concurs in the content of this Stipulation and has authorized its filing with his electronic
27 signature.
28                                                    4
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 2                                     CERTIFICATE OF SERVICE

 3          The undersigned certifies that on August 19, 2020 he served the foregoing
 4 Stipulation to Reset and Extend Calendar Dates on all counsel of record via the Court’s
 5 ECF system, which electronically notifies them.
 6
 7                                                    By: /s/ Vivek Jayaram
 8                                                    Vivek Jayaram (Admitted pro hac vice)
                                                      125 S. Clark Street, Suite 1175
 9                                                    Chicago, IL 60603
                                                      Phone: 312-212-8676
10                                                    Cell: 646-325-9855
                                                      Email: vivek@jayaramlaw.com
11
                                                      Attorneys for Defendant Deejayzoo, LLC
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